Case 3:15-cv-03815-L Document 75-3 Filed 09/28/16   Page 1 of 3 PageID 427




               EXHIBIT C
Case 3:15-cv-03815-L Document 75-3 Filed 09/28/16                             Page 2 of 3 PageID 428




               AFFTDAYIT OF CAROL SHAW. CERTIFIED TRANSLATOR

 STATE OF HAWATT ){
                                        S('
 couNryoFHoNoLULU ){

       BEFORE ME, the undersigned notary public, on this day personally appeared Carol
 Shaw, who is personally knour to me, and after being duly swom according to law upon her
 oath deposed and said:

        "My name is Carol Shaw. I am over eighteen (18) years of age and am not suffering
 under any legal or mental disabilities. I am a Spanish>English translator certified by the ATA
 (American Translators Association, Member No. 227563) and I properly tanslated the following
 documents from English into Spanish:

                Proposed Notice     -   Pll
 and edited the following translation into Spanish:

                Consent to   Join   Spanish - PW

 "The translation and revision are fair and accurate. Further, affrant sayeth not."


                                                         ( ----+ &-
                                                      Carol Shaw Affrant




         SUBSCRIBED AND swoRN to before me by carol Shaw on this the 29* day of August,
 2016, to certify which witness my hand and official seal of office.




                                                         Notary Public, State of Hawaii
                                                         Print name: F.<,4at< t s   Zr.kcnnra^t




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                                                                                                  App. p. 14
Case 3:15-cv-03815-L Document 75-3 Filed 09/28/16   Page 3 of 3 PageID 429




        NOTARY PUDLIC CERTIFICATION
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                                   Firct Circult




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                                                                  App. p. 15
